    Case 4:23-cv-00067-SMR-HCA            Document 66        Filed 06/06/25    Page 1 of 1

                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 24-3524
                                    ___________________

                     Des Moines Midwife Collective, LLC; Caitlin Hainley

                                            Plaintiffs - Appellants

                                                v.

     Iowa Health Facilities Council; Aaron DeJong; Kelly Blackford; Jeremy Kidd; Arnold
                                   Delbridge; Masami Knox

                                   Defendants - Appellees
______________________________________________________________________________

         Appeal from U.S. District Court for the Southern District of Iowa - Central
                                   (4:23-cv-00067-SMR)
______________________________________________________________________________

                                         JUDGMENT


Before SMITH, GRUENDER, and STRAS, Circuit Judges.


       Appellants’ motion to dismiss the appeal is granted. The district court’s judgment is

vacated pursuant to United States v. Munsingwear, 340 U.S. 36 (1950).

                                                     June 02, 2025




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




   Appellate Case: 24-3524        Page: 1       Date Filed: 06/02/2025 Entry ID: 5522690
